UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


DYLAN ROUTH,

                               Plaintiff,                     MEMORANDUM
                                                              OF LAW
                       VS.
                                                              6:11-CV-6606-CJS
UNIVERSITY OF ROCHESTER and
SARAH HULBERT,

                               Defendants.



                                PRELIMINARY STATEMENT

       This Memorandum of Law is submitted on behalf of the plaintiff, Dylan Routh, in

support of his motion to amend the complaint in this action (Docket #34) and in response to the

opposition to this motion submitted by the defendants University of Rochester (hereafter

"defendant University") (Docket #36) and Sarah Hulbert (hereafter "defendant Hulbert")

(Docket #37). As set forth more fully below, the plaintiff respectfully submits that the

amendment of the complaint would not be futile since it states viable causes of action against the

defendants and that the liberal rules governing the amendment of pleadings mandate that the

plaintiff s motion to amend be granted.




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                                            ARGUMENT

                                               POINT I

                             THE PLAINTIFF HAS ADEQUATELY
                            PLEADED A CAUSE OF ACTION FOR
                            BREACH OF AN IMPLIED CONTRACT
                             BY THE DEFENDANT UNIVERSITY


        The law is well-settled that, absent consent of the parties, the court should "freely grant"

leave to amend a complaint unless, as alleged herein by the defendants, the proposed amendment

is futile. Fed. R. Civ. P. 15(c); Doe v. Cuomo, 2013 U.S. Dist. LEXIS 40899, AT *24 (N.D.N.Y.

2013), citing Foman v. Davis, 371 U.S. 178, 182 (1962). In assessing whether or not a proposed

amendment would be futile, the standard is whether or not a proposed amendment could

withstand a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6). Rusyniak v. Gensini, 629 F.

Supp. 2d 203, 217 (N.D.N.Y. 2009). In addition, such futility only exists where it is "beyond

doubt that the plaintiff can prove no set of facts in support of his amended claims." Pangburn v.

Culbertson, 200 F.3d 65, 70-71 (2d Cir. 1999). By this standard, the defendants' opposition to

the proposed amended complaint is unfounded.

        The defendant University's first assertion is that the plaintiff's asserted cause of action

for breach of contract is subject to dismissal for lack of specificity of the breach. We

respectfully submit that the plaintiff has demonstrated both the existence of a contract between

himself and the defendant University and a specific breach.

       Under the law of the State of New York, "when a student is admitted to an academic

institution, an implied contract arises between the student and the institution 'such that if [the

student] complies with the terms prescribed by [the institution], he [or she] will obtain the degree

which he [or she] sought'. Matter of Olsson v. Board of Higher Educ. of the City of N. Y, 49

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N.Y.2d 408, 414 (1980), quoting Matter of Carr v. St. John's Univ., N Y., 17 A.D.2d 632, 633

(1962), affd 12 N.Y.2d 802 (1962). Such a contract obliges the institution to conform to its own

published documents, such as bulletins. Sweeney v. Columbia University, 270 A.D.2d 335 (3d

Dept. 2000), citing Prusack v. State of New York 117 A.D.2d 729, 730 (2d Dept. 1986).

        In the present case, the plaintiff has alleged that the defendant University had a code of

conduct which established a requirement that any disciplinary charges be specific and that the

charges against him failed to conform to the University's code of conduct (Docket #34, Exhibit

A, ¶31). In addition, the plaintiff has alleged that the defendant University's own counsel

admitted this failure, stating, in response to the plaintiff's claim that he had inadequate notice of

the charges against him, "[y]ou have a valid point about the specificity of the charge letter. We

can definitely improve on how those are written." (Docket #34, Exhibit A, ¶32). Despite this

written admission, the defendant University refused to provide further specification of the

disciplinary charges against the plaintiff. (Docket #34, Exhibit A, ¶33). Contrary to the

defendant University's argument, the plaintiff has clearly set forth the terms of the contract and

the specific breach by the University. Consequently, his action for breach of contract is not

subject to dismissal.

                                              POINT II

                           THE PLAINTIFF HAS ADEQUATELY
                           PLEADED A CAUSE OF ACTION FOR
                        RELIEF PURSUANT TO C.P.L.R. ARTICLE 78

       The defendant University's argument that an Article 78 proceeding "cannot be brought in

federal court" overstates the law (Docket #39, p.7). We acknowledge the considerable precedent

supporting the contention that an Article 78 proceeding is a creature of New York State law and

is more appropriately brought in state court. However, as this Court stated in Nat '1 Fuel Gas

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Supply Corp. v. Town of Wales, 904 F.Supp.2d 324, at 335 (W.D.N.Y. 2012), the authorities on

this point are not unanimous. Nat '1 Fuel Gas Supply Corp., 904 F.Supp. at 335. Indeed, this

Court went on to state that the notion that federal courts lacked discretion to entertain

supplemental jurisdiction over Article 78 claims is in "some dispute". Nat '1 Fuel Gas Supply

Corp., 904 F.Supp. at 336, citing Casale v. Metropolitan Transp. Auth., 2005 U.S. Dist. LEXIS

34637 (S.D.N.Y. Dec. 19, 2005). In Casale, the federal district court refused to remand back to

state court and consequently entertained a hybrid Article 78 petition and section 1983 cause of

action, holding that such a petition was a "'civil action' subject to the ordinary rules of federal

question jurisdiction." Casale, 2005 U.S. Dist. LEXIS 34637 at fn.3.

        We respectfully submit that this Court retains discretion to exercise supplemental

jurisdiction over the pendent Article 78 state law claims in this case and request that it do so.

The lack of unanimity defeats any argument by the defendant University that this claim was

brought frivolously or in derogation of existing law (see Docket #36, p.'7-8).

                                             POINT III

                           THE PLAINTIFF HAS ADEQUATELY
                         PLEADED A CAUSE OF ACTION AGAINST
                           THE DEFENDANT UNIVERSITY FOR
                            RELIEF PURSUANT TO TITLE IX


       The plaintiff has pleaded as a federal claim an allegation that the defendant University

discriminated against him on account of his gender by selectively prosecuting him for alleged

disciplinary infractions in violation of Title IX of the Education Amendments of 1972, 20 U.S.C.

sections 1681-1688 ("Title IX"). As stated in Title IX:

            No person in the United States shall, on the basis of sex, be excluded
            from participation in, be denied the benefits of, or be subjected to
            discrimination under any education program or activity receiving

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             Federal financial assistance.

20 U.S.C. § 1681(a) (1988).

        It is beyond dispute that Title IX bars the imposition of university discipline where

gender is a motivating factor in the decision to discipline. Yusuf v. Vassar College, 35 F.3d 709,

715 (2d Cir. 1994). Although facts supporting such a claim must be pleaded, "the pleading

burden in this regard is not heavy." Yusuf, 35 F.3d at 715. In the present case, the plaintiff

alleges that the University violated Title IX by prosecuting him for a violation of the

University's code of conduct while simultaneously insulating Ms. Hulbert from a complaint by

the plaintiff for engaging in the same conduct for which he was being charged (Docket #34,

Exhibit A, ¶88). In response, the defendant University alleges, inter alia, that there is no

provision in the Standards of Student Conduct for filing a "cross-complaint" (Docket #36, p.8).

The defendant University also relies upon a number of factual assertions and exhibits submitted

by them in support of their Rule 12(b)(6) motion. See Document #36, p.9.

        In the first instance, the University is precluded from submitting or relying upon such

extrinsic proof in the context of a Rule 12(b)(6) motion, which, as noted above, is the standard

for assessing the futility of a proposed amended complaint. As the Court of Appeals for this

Circuit has observed, such motions are limited to the facts alleged in the complaint. Byrd v. City

of New York, 2005 U.S. App. LEXIS 10820, AT *2-*3 (2d. Cir. 2005). If such materials are to

be considered, the motion must be converted into a summary judgment motion and notice be

provided to all parties. No such notice has been provided.

       Notwithstanding the foregoing objection, the defendant University's argument is without

merit. The defendant's assertion that there is no provision in the standards for a "cross-

complaint" against Ms. Hulbert flies squarely in the face of their factual assertion that the

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plaintiff was told that he could assert a claim against her (Compare Document #36, p.8 and p.9).

At a minimum, the plaintiff has raised a colorable claim that he was prevented from filing a

complaint against Ms. Hulbert for the same conduct for which he was ultimately expelled from

the defendant University. The only meaningful difference between the parties with respect to

such conduct is that one was male and one was female. As such, this constitutes a claim that

gender was a motivating factor in the plaintiff's discipline which entitles him to relief pursuant to

Title IX.

                                             POINT IV

                         THE PLAINTIFF HAS ADEQUATELY
                      PLEADED A CAUSE OF ACTION AGAINST
                    THE DEFENDANT HULBERT FOR DEFAMATION


       The defendant Hulbert's first argument in opposition to the plaintiff's motion to amend

his complaint is that the proposed amendment is futile because the plaintiff allegedly suffered no

damage as a result of her defamatory statements. According to defendant Hulbert's theory, the

plaintiff supposedly contends in his proposed Amended Complaint that he was only expelled for

engaging in consensual sexual conduct with the defendant Hulbert and not because the defendant

University believed the plaintiff had sexually assaulted Hulbert (Docket #35, p.4). This is a

gross mischaracterization of the Amended Complaint. Quite to the contrary, the Ampnded

Complaint alleges that the defendant Hulbert gave false written and oral statements that the

plaintiff "raped her, sexually and otherwise assaulted her and/or engaged in activities without her

consent." Amended Complaint, ¶41. The plaintiff does not know which of the defendant

Hulbert's statements the defendant University believed, since the Amended Complaint explicitly

alleges that the University expelled him without specifying the conduct in which he allegedly


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engaged or how such conduct constituted a violation of the code of student conduct. Amended

Complaint, ¶76. In short, the plaintiff does not know whether he was expelled for consensual or

non-consensual conduct. Consequently, the defendant Hulbert's argument that he suffered no

damage as a result of her defamatory statements is without merit.

        However, the defendant Hulbert's argument suffers from another fatal flaw. By

accusing the plaintiff of acts which allegedly constituted the felonies of Rape in the First Degree,

Strangulation in the Second Degree, Aggravated Sexual Abuse in the First Degree, Unlawful

Imprisonment in the First Degree and Reckless Endangerment in the First Degree (see Amended

Complaint, ¶1129, 31), the defendant Hulbert has committed defamation per se, which this Court

has held requires no proof of special damages. Wojtczak v. Safeco Prop. & Cas. Ins. Cos., 669

F.Supp.2d 305, 314 (W.D.N.Y., 2009), citing Liberman v. Gelstein, 80 N.Y.2d 429, 435 (1992)

(defamation per se involves statement charging the plaintiff with a "serious crime").

Consequently, even assuming arguendo that the defendant Hulbert's defamatory statements were

not the cause of the plaintiff's expulsion, he has adequately pleaded a cause of action for

defamation per se.

       The defendant Hulbert next argues that the defamation claim lacks merit because the

defamatory statements were made to the University, with whom the defendant Hulbert

supposedly shared a common interest in the subject matter. This argument is both premature and

lacking in merit. The "common interest" doctrine creates a qualified privilege which must be

pleaded as an affirmative defense in the defendant's answer, following which the defendant may

make a summary judgment motion in which proof would have to be adduced demonstrating the

existence of the common interest. Garcia v. Puccio, 17 A.D.3d 199, 201 (1 st Dept. 2005).

Following such a motion, the burden would then shift to the plaintiff to demonstrate that "the

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defendant's statements were uttered with malice, which includes either common-law malice

(motivated by spite or ill will) or constitutional malice (statements made with a high awareness

of their probable falsity)." Hoesten v. Best, 34 A.D.3d 143 (2st Dept. 2006), citing Foster v.

Churchill, 87 N.Y.2d 744, 751-752 (2006). We respectfully submit that, as the Garcia court

held, the defendant should not be permitted to "short circuit that procedure" by improperly

placing on the plaintiff the burden of anticipating the defendant's affirmative defense prior to

joinder of issue. Garcia, 17 A.D.3d at 201, citing Demas v. Levitsky, 291 A.D.2d 653, 662 (3d

Dept. 2002), lv dismissed 98 N.Y.2d 728 (2002). As in Garcia, it would be error to give

"conclusive effect" to the defendant's position that the defendant Hulbert's statements were not

made with malice "before any affirmative defense to that effect has been raised in their answer."

Garcia, 17 A.D.3d at 201, citing Acosta v. Vataj, 170 A.D.2d 348 ( 1 st Dept. 1991).

        Moreover, we respectfully submit that it cannot be concluded as a matter of law at this

juncture that the defendant Hulbert did not act with either common-law or constitutional malice.

As the plaintiff has alleged in the proposed Amended Complaint, the defendant Hulbert only

made her complaints about the plaintiff to the University three days after he advised her that he

no longer wished to continue their relationship, despite the fact that the acts in question occurred

months before (Amended Complaint, ¶4116, 17, 29). Assuming, as the Court must, the truth of

such factual allegations, we respectfully submit that this is more than sufficient proof that the

defendant Hulbert acted with spite and/or ill will in making her defamatory statements, thereby

acting with common-law malice. In addition, the defendant Hulbert acted with constitutional

malice, since she obviously knew the subject matter of the defamatory statements and, as the

plaintiff contends, made them with actual knowledge of their falsity (Amended Complaint, ¶98).



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        Based upon the foregoing, we respectfully submit that the defendant Hulbert cannot avail

herself of the affirmative defense of the qualified privilege of common interest. At a minimum, a

determination of the viability of such an affirmative defense must await the interposition of such

an affirmative defense in the defendant's answer and cannot defeat the plaintiff's motion to

amend his complaint.

                                              POINT V

                         THE PLAINTIFF HAS ADEQUATELY
                      PLEADED A CAUSE OF ACTION AGAINST
                    THE DEFENDANT HULBERT FOR INTENTIONAL
                       INFLICTION OF EMOTIONAL DISTRESS

        In his proposed Amended Complaint, the plaintiff has asserted a New York State law

claim against the defendant Hulbert for the intentional infliction of emotional distress ("IIED").

This tort has four elements: (i) extreme and outrageous conduct; (ii) intent to cause, or disregard

of a substantial probability of causing, severe emotional distress; (iii) a causal connection

between the conduct and injury; and (iv) severe emotional distress." Howell v New York Post

Co., 81 NY2d 115, 121 (1993). The defendant Hulbert contends that her conduct was not

sufficiently "extreme and outrageous" to subject her to liability for IIED. We respectfully

disagree.

       As alleged in the proposed Amended Complaint, the defendant Hulbert ' did not limit

herself to merely making a false claim of rape, assault and similar conduct to the University.

(Amended Complaint, ¶102). Indeed, she also made such complaints to law enforcement

officials and even went so far to seek a Family Court order of protection, despite the fact that the

defendant and the plaintiff lived on opposite coasts, had not seen each other since the plaintiff's

expulsion and, in point of fact, the only contact between them had been initiated by the defendant


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(Amended Complaint, 1152-54). Under such circumstances, we respectfully submit that the

defendant Hulbert's conduct was sufficiently outrageous as to subject her to IIED liability.



                                         CONCLUSION

       Based upon the foregoing, the plaintiff respectfully submits that his motion to amend his

complaint should be granted, pursuant to Fed. R. Civ. P. 15, together with such other and further

relief as this Court may deem just and proper.



Dated: July 31, 2013
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